Case 2:24-cv-02540-TLP-tmp   Document 96 Filed 07/18/25     Page 1 of 2    PageID
                                    1028


               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
________________________________________________________________

JUST CITY, INC., et al.,        )
                                )
     Plaintiffs,                )
                                )
v.                              )   No. 24-cv-2540-TLP-tmp
                                )
SHERIFF FLOYD BONNER JR.,       )
et al.,                         )
                                )
     Defendants.                )
________________________________________________________________

           ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL
 ________________________________________________________________

       Before the court by order of reference is plaintiffs Just

City, Inc., Deangelo Towns, and Marshawn Barnes’ Motion to Compel,

filed on June 26, 2025. (ECF Nos. 93, 94.) Plaintiffs assert that

defendants    Sheriff    Floyd   Bonner    Jr.,   Presiding    Shelby     County

General Sessions Criminal Judge Lee Wilson, and the members of the

Shelby County Judicial Commission failed to respond to plaintiffs’

February 3, 2025 Requests for Production. (ECF No. 93 at PageID

990.) In addition, plaintiffs contend that defendants have failed

to comply with a February 28, 2025 subpoena served on the Custodian

of Records of the Shelby County General Sessions Court seeking the

same categories of documents as the Requests for Production. (Id.

at PageID 990-91.) Pursuant to Local Rule 7.2, defendants had until

July   10,   2025   to   file    their    response.   See   L.R.    7.2(a)(2).
Case 2:24-cv-02540-TLP-tmp   Document 96 Filed 07/18/25    Page 2 of 2   PageID
                                    1029


Defendants did not respond by that deadline, and to date, have not

responded to plaintiffs’ motion.

      Under Local Rule 7.2, “[f]ailure to respond timely to any

motion . . . may be deemed good grounds for granting the motion.”

Id. Because defendants have failed to respond, the undersigned

hereby      GRANTS   plaintiffs’   Motion   to   Compel.    Defendants     are

ORDERED, within twenty days of the entry of this order, to produce

the following:

      (1)    Documents responsive to the Plaintiffs’ February 3,
             2025 First Set of Requests for Production to
             Defendants; and

      (2)    A signed declaration from the Shelby County General
             Sessions Court    Clerk that she conducted        a
             reasonable search of documents responsive to
             Plaintiffs’ February 28, 2025 subpoena to the
             Custodian of Records of the Shelby County General
             Sessions Court, Criminal Division, but that no
             documents were found.

      IT IS SO ORDERED.

                                   s/Tu M. Pham _____________ _________
                                   TU M. PHAM
                                   Chief United States Magistrate Judge

                                   July 18, 2025
                                   Date




                                    - 2 -
